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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

TOUSSAINT L’OUVERTURE MINETT, SR.,

        Plaintiff,
                                                      Case No. 21-cv-30-bbc
   v.

OFFICER KRUTER,

        Defendant.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this case

without prejudice.




        /s/                                             5/25/2021
        Peter Oppeneer, Clerk of Court                        Date
